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                          Exhibit H
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    From:             Charrow, Robert (HHS/OGC)
    To:               Anat Hakim
    Cc:               Charrow, Robert (HHS/OGC); White, Caroline (HHS/OGC)
    Subject:          [EXTERNAL] Letter regarding 340B program and email address
    Date:             Tuesday, September 22, 2020 5:39:23 PM
    Attachments:      Letter regarding 340B Program 9-22-2020.pdf


          EXTERNAL EMAIL: Use caution before replying, clicking links, and opening
    attachments.

    Dear Ms. Hakim:

    Please see the attached letter. Bob Charrow


    Robert P. Charrow
    General Counsel
    Department of Health and Human Services
    200 Independence Avenue, S.W.
    Washington, D.C. 20201
    (202) 690-7741
    Email: Robert.Charrow@hhs.gov
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